            Case 16-00490-lmj13 Doc 54 Filed 06/07/20 Entered 06/07/20 23:13:32                                            Desc
                               Imaged Certificate of Notice Page 1 of 3
                                               United States Bankruptcy Court
                                                 Southern District of Iowa
In re:                                                                                                     Case No. 16-00490-lmj
Scott David Clark                                                                                          Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0863-4                  User: auto                         Page 1 of 1                          Date Rcvd: Jun 05, 2020
                                      Form ID: 13180W                    Total Noticed: 4


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 07, 2020.
db             +Scott David Clark,    34507 Elmtree Road,   Carson, IA 51525-6108
cr             +Ditech Financial LLC,    1400 Turbine Drive Suite 200,   Rapid City, SD 57703-4719
802153135     ++IOWA DEPARTMENT OF REVENUE,    ATTN BANKRUPTCY UNIT,   PO BOX 10471,   DES MOINES IA 50306-0471
               (address filed with court: Iowa Department of Revenue,     P.O. Box 10465,
                 Des Moines, IA 50306-0465)

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
802179680       EDI: WFFC.COM Jun 06 2020 03:48:00     Wells Fargo Bank, N.A., as Trustee,
                 c/o Ditech Financial LLC,   PO Box 6154,   Rapid City, SD 57709-6154
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
802153136      ##+Ditech Financial Llc,   Po Box 6172,   Rapid City, SD 57709-6172
                                                                                                                    TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 07, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 5, 2020 at the address(es) listed below:
              Carol F Dunbar    ssteffen@iowachapter13.com,
               mweber@iowachapter13.com;cdunbar13dm@ecf.epiqsystems.com
              Deanna R Bachman    on behalf of Trustee Carol F Dunbar dbachman@iowachapter13.com
              Julian Theodore Cotton    on behalf of Creditor   Wells Fargo Bank, National Association, not in
               its individual or banking capacity, but solely as Trustee on behalf of the Lake County Mortgage
               Loan Trust 2006-HE1 jcotton@padgettlaw.net
              Mark D Walz    on behalf of Creditor   Wells Fargo Bank, N.A., as Trustee for Lake Country
               Mortgage Loan Trust 2006-HE1, by Ditech Financial LLC, as Servicer with delegated authority for
               the trustee markwalz@davisbrownlaw.com, markwalz@davisbrownlaw.com
              Roxanne M Alhejaj    on behalf of Debtor Scott David Clark roxanne@bankruptcynebraska.com,
               notice@bankruptcynebraska.com;alhejajlaw@gmail.com
              United States Trustee    USTPRegion12.DM.ECF@usdoj.gov
              Wendee N Elliott-Clement    on behalf of Creditor   Ditech Financial LLC iabksdecf@southlaw.com,
               ksbkecf@ecf.courtdrive.com
                                                                                             TOTAL: 7
         Case 16-00490-lmj13 Doc 54 Filed 06/07/20 Entered 06/07/20 23:13:32                                                             Desc
                            Imaged Certificate of Notice Page 2 of 3
Information to identify the case:
Debtor 1
                         Scott David Clark                                                Social Security number or ITIN   xxx−xx−1199
                                                                                          EIN _ _−_ _ _ _ _ _ _
                         First Name   Middle Name   Last Name
Debtor 2                                                                                  Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name                             EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court   Southern District of Iowa

Case number:          16−00490−lmj13


Order of Discharge                                                                                                                              12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Scott David Clark


               6/5/20                                                             By the court:            Judge Lee M. Jackwig
                                                                                                           United States Bankruptcy Judge



Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                                    Most debts are discharged
                                                                                  Most debts are covered by the discharge, but not all.
                                                                                  Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                         liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                         In a case involving community property: Special rules
attempt to collect a discharged debt from the                                     protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                                 spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                       case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                                 Some debts are not discharged
debtors by mail, phone, or otherwise in any                                       Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                           ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                           ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                     ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                               U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                          523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                           the plan;
any debt voluntarily. 11 U.S.C. § 524(f).

                                                             For more information, see page 2




Form 3180W                                                       Chapter 13 Discharge                                                       page 1
    Case 16-00490-lmj13 Doc 54 Filed 06/07/20 Entered 06/07/20 23:13:32                          Desc
                       Imaged Certificate of Notice Page 3 of 3




    ♦ debts that the bankruptcy court has                       ♦ debts for restitution, or damages,
      decided or will decide are not discharged                   awarded in a civil action against the
      in this bankruptcy case;                                    debtor as a result of malicious or willful
                                                                  injury by the debtor that caused
                                                                  personal injury to an individual or the
    ♦ debts for restitution, or a criminal fine,                  death of an individual; and
      included in a sentence on debtor's criminal
      conviction;
                                                                ♦ debts for death or personal injury
                                                                  caused by operating a vehicle while
    ♦ some debts which the debtors did not                        intoxicated.
      properly list;

                                                         In addition, this discharge does not stop
    ♦ debts provided for under 11 U.S.C. §               creditors from collecting from anyone else who
      1322(b)(5) and on which the last payment           is also liable on the debt, such as an insurance
      or other transfer is due after the date on         company or a person who cosigned or
      which the final payment under the plan             guaranteed a loan.
      was due;


    ♦ debts for certain consumer purchases                This information is only a general
      made after the bankruptcy case was filed if         summary of a chapter 13 discharge; some
      obtaining the trustee's prior approval of           exceptions exist. Because the law is
      incurring the debt was practicable but was          complicated, you should consult an
      not obtained;                                       attorney to determine the exact effect of
                                                          the discharge in this case.




Form 3180W                               Chapter 13 Discharge                                          page 2
